                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE


NEW HAMPSHIRE LOTTERY
COMMISSION,

NEOPOLLARD INTERACTIVE, LLC, and
         |
POLLARD BANKNOTE LIMITED,

                         Plaintiffs,

and

iDEVELOPMENT AND ECONOMIC
                                                    Civil Action No. 19-cv-00163-PB
ASSOCIATION,

                         Proposed-Intervenor
                                                    Expedited Treatment Requested
v.

WILLIAM BARR, in his official capacity as
Acting Attorney General of the United States of
America,

UNITED STATES DEPARTMENT OF
JUSTICE, and

UNITED STATES OF AMERICA

                              Defendants.


            PROPOSED-INTERVENOR iDEVELOPMENT AND ECONOMIC
              ASSOCIATION’S EMERGENCY MOTION TO INTERVENE

       Pursuant to Federal Rule of Civil Procedure 24, Proposed-Intervenor iDevelopment and

Economic Association (“iDEA”) moves to file this Emergency Motion to Intervene (“Motion”)

so that iDEA can adequately represent its interests and the interests of its member organizations

in the above-captioned matter. iDEA seeks to intervene as of right under Fed. R. Civ. P. 24(a),

or, in the alternative, permissively under Fed. R. Civ. P. 24(b) in order to seek declaratory and
injunctive relief declaring that the Wire Act, 18 U.S.C. § 1084, does not prohibit the use of a

wire communication facility to transmit in interstate commerce bets, wagers, receipts, money,

credits, or any other information related to any type of gaming other than gaming on sporting

events and contests. As discussed in the accompanying Memorandum of Law in Support of

iDEA’s Emergency Motion to Intervene (“Memorandum”), iDEA satisfies all of the

requirements for intervention of right, as well as the requirements for permissive intervention.

As such, iDEA respectfully requests that its Motion be granted.

       In support of its Motion, iDEA files herewith:

           a. Memorandum of Law in Support of iDEA’s Emergency Motion to Intervene;

           b. Proposed Complaint setting forth iDEA’s claim, as required by Fed. R. Civ. P.
              24(c); and

       iDEA contacted counsel for Plaintiffs New Hampshire Lottery Commission (“NHLC”),

Neopollard Interactive, LLC (“Neopollard”), Pollard Banknote Limited (“Pollard”) and

Defendants William Barr, the Department of Justice, and the United States of America

(collectively, “Defendants”) to seek their position on iDEA’s Motion. NHLC consented to

iDEA’s Motion on the condition that iDEA would be agreeable to maintaining the case on the

same briefing and oral argument schedule as the underlying parties. iDEA has agreed to this

request. Neopollard and Pollard consented to iDEA’s Motion. Defendants would not take a

formal position on iDEA’s Motion until they had an opportunity to review its filing.

       For the foregoing reasons and for those discussed in the accompanying Memorandum,

iDEA respectfully requests that the Court grant its Motion and enter an Order granting it

intervention under Fed. R. Civ. P. 24 and docketing Exhibit A, attached hereto, as iDEA’s

Complaint in Intervention.




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Dated: February 25, 2019                           Respectfully Submitted,

                                                   /s/ Demetrio F. Aspiras, III____________
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 Counsel for Plaintiff-Intervenor                  Counsel for Plaintiff-Intervenor
 iDevelopment and Economic Association             iDevelopment and Economic Association




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                                  Certificate of Service

       I hereby certify that a copy of Proposed-Intervenor iDevelopment and Economic

Association’s Emergency Motion to Intervene, together with iDevelopment and Economic

Association’s   Proposed   Complaint   in   Intervention,   was     served   via   the   Case

Management/Electronic Case Files (CM/ECF) system on February 25, 2019 upon all counsel of

record, including:

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                          /s/ Demetrio F. Aspiras__________
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